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                           UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:05-cr-490-T-23MAP
                                                              USM NUMBER: 48335-018
VS.




RICHARD CONLEY EVANS
                                                              Defendant's Attorney: Timothy J. Fitzgerald, ret

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.
-

TITLE & SECTION                    NATURE OF OFFENSE                            OFFENSE ENDED                       COUNT

21 U.S.C. $$ 846, 841(a)(l),       Conspiracy to Distribute 5 Kilograms         March 8, 2005                       ONE
and 84 1(b)(l)(A)(ii)(II)          or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: September 18, 2006




                                                                                                                            I
                                                                                     STEVEN D. MERRYDAY
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: September              2OO6
            Case 8:05-cr-00490-SDM-MAP Document 83 Filed 09/18/06 Page 2 of 6 PageID 173
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           RICHARD CONLEY EVANS                                                                   Judgment - Page 2 of 6
Case No.:            8:05-cr-490-T-23MAP

                                                                IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SIXTY-THREE (63) MONTHS.




-
X The court makes the following recommendations to the Bureau of Prisons: confinement at FPC Eglin AFB, Florida.



-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
            - at a.m./p.m. on -.
            - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
            - before 2 p.m. on -.
            - as notified by the United States Marshal.
            - as notified by the Probation or Pretrial Services Office.



                                                                        RETURN

            I have executed this judgment as follows:




            Defendant delivered on                                                to

       at                                                                         , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
         Case 8:05-cr-00490-SDM-MAP Document 83 Filed 09/18/06 Page 3 of 6 PageID 174
A 0 245B (Rev. 06/05) Sheet 3 -Supervised Release (Judgment in a Criminal Case)

Defendant:           RICHARD CONLEY EVANS                                                                         Judgment - Page 3of 6
Case No. :           8:05-cr-490-T-23MAP
                                                             SUPERVISED RELEASE

           Upon release from imprisonment, the defendant shall be o n supervised release for a term of SIXTY (60) MONTHS.

           T h e defendant must report to the probation office in the district to which the defendant is released within 72 hours o f release
f r o m the custody of the Bureau of Prisons.

         While o n supervised release, the defendant shall not commit another federal, state, o r local crime, and shall not possess a
firearm, ammunition, o r destructive device as defined in 18 U.S.C. 5 921.

           T h e defendant shall not illegally possess a controlled substance. T h e defendant shall refrain from any unlawful use o f a
           controlled substance. Based o n the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           T h e defendant shall cooperate in the collection of DNA as directed b y the probation officer.

           If this judgment imposes a fine o r restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           T h e defendant must comply with the standard conditions that have been adopted b y this court as well as with any additional
           conditions o n the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or othe~
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
         Case 8:05-cr-00490-SDM-MAP Document 83 Filed 09/18/06 Page 4 of 6 PageID 175
A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Crimmal Case)

Defendant:           RICHARD CONLEY EVANS                                                               Judgment - Page 4 of 6
Case No. :           8:05-cr-490-T-23MAP
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:
X
-         The defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
          dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
          may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
          Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
          treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
          times per year.
           Case 8:05-cr-00490-SDM-MAP Document 83 Filed 09/18/06 Page 5 of 6 PageID 176
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           RICHARD CONLEY EVANS                                                                      Judgment - Page 5 of 6
Case No. :           8:05-cr-490-T-23MAP

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                 Fine                         Total Restitution

           Totals:              $100.00                                    $ waived                     $


-          The determination of restitution is deferred until -.                       An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
           3664(i). all non-federal victims must be paid before the dnited States.


Name of Payee                                         Total Loss*                      Restitution Ordered              Priority or Percentage




                                Totals:               L                                L

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the tifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the                fine       - restitution.

           -          the interest requirement for the               fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.              B
         Case 8:05-cr-00490-SDM-MAP Document 83 Filed 09/18/06 Page 6 of 6 PageID 177
A 0 245B (Rev 06/05)Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           RICHARD CONLEY EVANS                                                           Judgment - Page 6of 6
Case No. :           8:05-cr-490-T-23MAP


                                                         SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                     Lump sum payment of $ 100.00 due immediately, balance due
                                 -not later than                        , Or
                                 -in accordance - C , - D, - E or - F below; or
                     Payment to begin immediately (may be combined with -C, -D, or -F below); or
                     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                     period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                     date of this judgment; or
                     Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $               over a
                     period of
                                  , (e.g ., months or years) to commence                     (e.g. 30 or 60 days) after release
                     from imprisonment to a term of supervision; or
                     Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
                     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
